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            IN THE   UNITED   STATES DISTRICT   COURT   FOR THE      f       JAN I0 2013    \d
                     EASTERN DISTRICT   OF   VIRGINIA

                                                                        CLERK, U    IICT COURT
                                                                    .      {              ^
                          Alexandria Division




MARSHALL MONROE,


                 Petitioner,            Criminal   Case No.    1:08CR4 3
V.                                      Civil Action No.      1:12CV753


UNITED STATES OF AMERICA,


                 Respondent




                          MEMORANDUM    OPINION


     This case comes before the Court on Marshall Monroe's               ("the

Petitioner") Motion To Vacate, Set Aside and/Or Correct His Sentence

Pursuant to Title 28,    U.S.C.   Section 2255.

     On April 16, 2008, a jury convicted the Petitioner of Hobbs Act

Conspiracy to Commit Armed Robbery,      four counts of Hobbs Act Armed

Robbery,   two counts of Felon in Possession of a Firearm,           and

Possession of an Unregistered Firearm. At sentencing,             the Court

properly calculated the Sentencing Guidelines range of 78 to 97

months, but found that an upward departure was appropriate and

imposed 300 months of imprisonment. On direct appeal, the Fourth

Circuit found that the Court had failed to make a sufficiently

individualized determination at sentencing and remanded for

re-sentencing.
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